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 1   JOSEPH J. WISEMAN, ESQ., CSBN 107403
     JOSEPH J. WISEMAN, P.C.
 2       1477 Drew Avenue, Suite 106
         Davis, California 95618
 3       Telephone:       530.759.0700
         Facsimile:       530.759.0800
 4   Attorney for Defendant
     MUMRAIZ KHAN
 5

 6
                              IN THE UNITED STATES DISTRICT COURT
 7
                            FOR THE EASTERN DISTRICT OF CALIFORNIA
 8
                                         SACRAMENTO DIVISION
 9

10
     UNITED STATES OF AMERICA,                        ) Case No. 2:09-cr-00138-MCE
11
                                                      )
                                 Plaintiff,           )
12
                                                      )
              vs.                                     ) REQUEST FOR WAIVER OF
13
                                                      ) PRESENCE AND ORDER
                                                      )
14
                                                      )
     MUMRAIZ KHAN; et al.,                            )
15
                                                      )
                                 Defendants.          )
16
                                                      )
17

18             Defendant MUMRAIZ KHAN, hereby waives the right to be present in person in open
19   court upon the hearing of any motion or other proceeding in this cause, including, but not limited
20   to when the case is ordered set for trial, when a continuance is ordered, and when any other
21   action is taken by the court before or after hearing, except upon arraignment, plea, empanelment
22   of jury and imposition of sentence. Defendant hereby requests the court to proceed during every
23   absence of his which the court may permit pursuant to this waiver; agrees that his interests will
24   be deemed represented at all times by the presence of his attorney, the same as if defendant were
25   personally present; and further agrees to be present in court ready for hearing any day and hour
26   the court may fix in his absence.
27   ///
28   ///

                                                        1
     _________________________________________________________________________________________________
     Request for Waiver of Presence                                            Case No. CR S CRS 09-0138 MCE
       Case 2:09-cr-00138-JAM Document 68 Filed 08/17/09 Page 2 of 2


 1            Defendant further acknowledges that he has been informed of his rights under Title 18
 2   U.S.C. §§ 3161-3174 (Speedy Trial Act), and authorizes his attorney to set times and delays
 3   under the Act without defendant being present.
 4

 5
     Dated:     April 23, 2009                      _See scanned doc for signature_
 6                                                  Defendant, MUMRAIZ KHAN

 7

 8   Approved: June 11, 2009                        By: __/s/ Joseph J. Wiseman__
 9
                                                           JOSEPH J. WISEMAN
                                                           Attorney for Defendant
10                                                         MUMRAIZ KHAN
11

12
     Dated:     June 11, 2009                       Respectfully submitted,
13
                                                    JOSEPH J. WISEMAN, P.C.
14

15                                                  By: __/s/ Joseph J. Wiseman__
16                                                         JOSEPH J. WISEMAN
                                                           Attorney for Defendant
17                                                         MUMRAIZ KHAN
18

19   DATED: August 17, 2009

20                                              __________________________________
                                                MORRISON C. ENGLAND, JR
21
                                                UNITED STATES DISTRICT JUDGE
22

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     _________________________________________________________________________________________________
     Request for Waiver of Presence                                            Case No. CR S CRS 09-0138 MCE
